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UNITED STATES DISTRICT COURT

SOUTHERN

DISTRICT OF TEXAS

 

UNITED STATES

V.

EMMANUAL COLON-SANCHEZ

AMENDED EXHIBIT AND WITNESS LIST

Case Number: 5:20-cr-00012

 

PRESIDING JUDGE

Marina Garcia-Marmolejo

PLAINTIFF’S ATTORNEY
Adam Esquire Harper

DEFENDANT'S ATTORNEY
Uriel Druker/Marc Gonzalez

 

 

 

NO. NO. OFFERED

TRIAL DATE (S) COURT REPORTER COURTROOM DEPUTY
March 4, 2020
PLE. | DEF. DATE | MARKED [ADMITTED DESCRIPTION OF EXHIBITS* AND WITNESSES

 

3/3/2020

Custodian of Records-American Best Value Inn

 

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2 | 3/3/2020

2_D's Interview Photograph .pdf

 

 

 

3 3/3/2020 3_D'Interview Photograph2.pdf
4 3/4/2020 Exhibit 14- Towing Enforced sign
5 3/4/2020 Exhibit 15- Towing Enforced sign

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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